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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF HAWAII

V 23- -
coUNTY OF MAUI Case. No. CV 23-00565 JAO-BMK
) ORDER GRANTING MOTION TO
Plaintiff, ) APPEAR PRO HAC VICE AS TO
) Robert J. Chambers II
VS. )
MAUI ELECTRIC COMPANY, LIMITED et al.,
)
Defendant. )
)
ORDER GRANTING MOTION

TO APPEAR PRO HAC VICE

The Court GRANTS the Motion of Robert J. Chambers II to

Appear Pro Hac Vice.

Name of Attorney: Robert J. Chambers II

Firm Name: Diab Chambers LLP

Firm Address: 10089 Willow Creek Rd., Suite 200, San Diego, CA 92131
Attorney CM/ECF

Primary email address: |rob@dcfirm.com

Firm Telephone: 619.658.7010

Party Represented Plaintiff, COUNTY OF MAUI

IT IS SO ORDERED.
DATED: Honolulu, Hawaii,

